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                         IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                        :    CRIMINAL NO. 07-258

             v.                                 :    DATE FILED: August 20, 2008

GREGORY JONES,                                  :    VIOLATIONS:
    a/k/a “G,”
LLOYD WASHINGTON, JR.,                          :    21 U.S.C. §§ 846, 841(b)(1)(A)
    a/k/a “Bub,”                                     (conspiracy to distribute five kilograms or
RONALD CRAWFORD,                                :    more of cocaine - 1 count)
    a/k/a “Coat,”                                    21 U.S.C. §§ 846, 841(b)(1)(A)
    a/k/a “Coulter,”                            :    (attempted possession with intent to
    a/k/a “C”                                        distribute five kilograms or more of
                                                :    cocaine- 1 count)
                                                     18 U.S.C. § 924(c) (possession of firearm
                                                :    in furtherance of drug trafficking crime -
                                                     1 count)
                                                :    18 U.S.C. § 2 (aiding and abetting)
                                                     Notice of forfeiture
                                                :

                          SECOND SUPERSEDING INDICTMENT

                                         COUNT ONE

THE GRAND JURY CHARGES THAT:

               1.     From on or about May 15, 2006 through on or about February 7, 2007, in

Philadelphia, in the Eastern District of Pennsylvania, defendants

                                   GREGORY JONES,
                                         a/k/a “G,”
                                LLOYD WASHINGTON, JR.,
                                       a/k/a “Bub,”
                                            and
                                  RONALD CRAWFORD,
                                      a/k/a “Coat,”
                                     a/k/a “Coulter,”
                                         a/k/a “C”

conspired and agreed, together and with Niema Simpson and Mark Rimes, charged elsewhere,
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and other persons known and unknown to the grand jury, to knowingly and intentionally possess

with intent to distribute five kilograms or more, that is, at least 29.5 kilograms, of a mixture and

substance containing a detectable amount of cocaine, a Schedule II controlled substance, in

violation of Title 21, United States Code, Section 841(a)(1), (b)(1)(A).

                                    MANNER AND MEANS

               It was part of the conspiracy that:

               2.      Defendants GREGORY JONES, LLOYD WASHINGTON, JR., and

RONALD CRAWFORD agreed with Niema Simpson and Mark Rimes to pick up, transport, and

distribute kilograms of cocaine, which had been sent from a location in California to

Philadelphia, Pennsylvania.

               3.      At the direction of defendants GREGORY JONES and LLOYD

WASHINGTON, JR., defendant RONALD CRAWFORD, and Niema Simpson and Mark

Rimes, and others known and unknown to the grand jury retrieved and transported parcels

containing kilograms of cocaine that were delivered to United Parcel Service (“UPS”) stores in

Philadelphia, Pennsylvania.

               4.      Defendants GREGORY JONES, LLOYD WASHINGTON, JR., and

RONALD CRAWFORD, and Niema Simpson communicated with each other and with others

known and unknown to the grand jury using cellular telephones concerning the retrieval of the

UPS parcels containing kilograms of cocaine.

               5.      Defendants GREGORY JONES, LLOYD WASHINGTON, JR., and

RONALD CRAWFORD possessed at least 150 kilograms of cocaine for distribution.




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                                        OVERT ACTS

               In furtherance of the conspiracy and to accomplish its object, defendants

GREGORY JONES, LLOYD WASHINGTON, JR., and RONALD CRAWFORD, and Niema

Simpson and Mark Rimes, charged elsewhere, and others known and unknown to the grand jury,

committed the following overt acts, among others, in the Eastern District of Pennsylvania and

elsewhere:

                               The Set Up: Opening Mailboxes

               On or about May 15, 2006:

               1.     Defendant LLOYD WASHINGTON, JR. drove with Niema Simpson and

Person # 1, a person known to the grand jury (“Person #1”), to the UPS store at 211 South Street

in Philadelphia, to open a mailbox.

               2.     At the direction of defendant LLOYD WASHINGTON, JR., Niema

Simpson and Person # 1 opened Mailbox # 529 at the UPS store at 211 South Street in

Philadelphia, under the firm name “Precision Global Comm, Inc.”

               3.     Later the same day, defendant LLOYD WASHINGTON, JR. drove with

Niema Simpson and Person # 1 to another UPS store at 1735 Market Street in Philadelphia to

open a mailbox.

               4.     At the direction of defendant LLOYD WASHINGTON, JR., Niema

Simpson and Person # 1 opened Mailbox # 448 at the UPS store at 1735 Market Street in

Philadelphia, under the firm name “Genesis Designer Corp.”




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                                       Cocaine Pick-Ups

               On numerous occasions between May 15, 2006 and February 7, 2007:

               5.     Defendant GREGORY JONES informed defendant LLOYD

WASHINGTON, JR. when parcels containing cocaine were scheduled to arrive at the UPS stores

at 211 South Street and 1735 Market Street.

               6.     Defendants LLOYD WASHINGTON, JR. and RONALD CRAWFORD

and Niema Simpson, and persons unknown to the grand jury, picked up parcels containing

cocaine from the UPS store at 211 South Street. On some occasions, defendant WASHINGTON

and Simpson, and persons unknown to the grand jury, picked up parcels containing cocaine from

the UPS Store at 1735 Market Street.

               7.     Defendants LLOYD WASHINGTON, JR. and RONALD CRAWFORD

and Niema Simpson, and persons unknown to the grand jury, transported the cocaine they picked

up from the UPS stores to a house in Philadelphia. Defendant GREGORY JONES arrived at this

same house and departed with some of the cocaine.

               8.     Defendants GREGORY JONES and LLOYD WASHINGTON, JR. paid

defendant RONALD CRAWFORD and Niema Simpson, Person # 1, and other persons unknown

to the grand jury in United States currency in exchange for transporting the cocaine they picked

up from the UPS stores to the house in Philadelphia.

               9.     Between on or about May 15, 2006 and on or about February 7, 2007,

defendant RONALD CRAWFORD possessed a loaded Glock 9-mm firearm.

           The Delivery and Pickup of Approximately 29.5 Kilograms of Cocaine

               On or about February 7, 2007:


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                10.    At approximately 9:30 a.m., defendant LLOYD WASHINGTON, JR.

drove in a silver Buick Rendezvous with Mark Rimes to the vicinity of the UPS store at 211

South Street in Philadelphia.

                11.    At approximately 9:50 a.m., defendant LLOYD WASHINGTON, JR. got

out of the Buick Rendezvous, observed an UPS truck driver make deliveries to the UPS store at

211 South Street, walked to the rear of the UPS truck, and observed parcels remaining in the rear

of the truck.

                12.    At approximately 11:45 a.m., defendant LLOYD WASHINGTON, JR.

and Mark Rimes observed another UPS truck driver deliver two parcels that originally contained

29.5 kilograms of cocaine to the UPS store at 211 South Street.

                                     Counter-Surveillance

                On or about February 7, 2007:

                13.    At approximately 11:50 a.m., after defendant LLOYD WASHINGTON,

JR. and Mark Rimes circled the block of 211 South Street in the Buick Rendezvous, defendant

WASHINGTON got out of the car, walked the 200 block of South Street, and looked into each

parked vehicle on the block.

                14.    At approximately 12:10 p.m., defendant LLOYD WASHINGTON, JR.

and Mark Rimes circled the block of 211 South Street in the silver Buick Rendezvous.

                15.    At approximately 12:40 p.m., Mark Rimes got out of the Buick

Rendezvous, walked the 200 block of South Street, looked into parked vehicles on the block,

entered the UPS store at 211 South Street, and then returned to the Buick Rendezvous.

                16.    At approximately 12:50 p.m., defendant LLOYD WASHINGTON, JR. got


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out of the Buick Rendezvous, entered the UPS store at 211 South Street, and then returned to the

Buick Rendezvous.

                17.    At approximately 1:20 p.m., Mark Rimes got out of the Buick

Rendezvous, walked the 200 block of South Street, and looked into each parked vehicle on the

block.

                18.    At approximately 1:30 p.m., Mark Rimes got out of the Buick

Rendezvous, walked the 200 block of South Street and the 600 block of American Street, and

looked into parked vehicles on the blocks.

                19.    At approximately 2:03 p.m., defendant LLOYD WASHINGTON, JR.

and Mark Rimes parked the silver Buick Rendezvous at the intersection of Second and South

Streets.

                                   The Final Cocaine Pickup

                On or about February 7, 2007:

                20.    At approximately 2:07 p.m., defendant RONALD CRAWFORD drove a

Victory taxicab, in which Niema Simpson was a passenger, to 211 South Street and parked in

front of the UPS store.

                21.    At approximately 2:07 p.m., Niema Simpson got out of the taxicab,

entered the UPS store, and picked up two parcels that originally contained 29.5 kilograms of

cocaine and put them in the trunk of the Victory taxicab being driven by defendant RONALD

CRAWFORD. The parcels were addressed to “Timothy D. Chang, Precision Global Comm.,

211 South Street Rm #529, Philadelphia, PA 19147.”

                22.    Defendant RONALD CRAWFORD then drove the Victory taxicab, in


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which Niema Simpson was a passenger, and the two UPS parcels to the intersection of Second

and South Streets, where defendant CRAWFORD followed the Buick Rendezvous driven by

defendant LLOYD WASHINGTON, JR. and Mark Rimes onto northbound I-95 and exited at

Girard Avenue, where they were all arrested by Philadelphia Police officers and members of the

High Intensity Drug Trafficking Area (“HIDTA”) Task Force.

              All in violation of Title 21, United States Code, Section 846.




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                                          COUNT TWO

THE GRAND JURY FURTHER CHARGES THAT:

               On or about February 7, 2007, in Philadelphia, in the Eastern District of

Pennsylvania, defendants

                                    GREGORY JONES,
                                         a/k/a “G,”
                                 LLOYD WASHINGTON, JR.,
                                        a/k/a “Bub,”
                                             and
                                   RONALD CRAWFORD,
                                       a/k/a “Coat,”
                                      a/k/a “Coulter,”
                                          a/k/a “C”

knowingly and intentionally attempted to possess with intent to distribute, and aided and abetted

the attempted possession with intent to distribute of, five kilograms or more, that is,

approximately 29.5 kilograms, of a mixture and substance containing a detectable amount of

cocaine, a Schedule II controlled substance, in violation of Title 21, United States Code, Section

841(a)(1), (b)(1)(A).

               All in violation of Title 21, United States Code, Section 846, and Title 18, United

States Code, Section 2.




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                                         COUNT THREE

THE GRAND JURY FURTHER CHARGES THAT:

               On or about February 7, 2007, in Philadelphia, in the Eastern District of

Pennsylvania, defendant

                                    RONALD CRAWFORD,
                                       a/k/a “Coat,”
                                      a/k/a “Coulter,”
                                          a/k/a “C”

knowingly possessed a firearm, that is, a loaded Glock 9-mm firearm, in furtherance of a drug

trafficking crime for which he may be prosecuted in a court of the United States, that is,

conspiracy to possess cocaine with the intent to distribute cocaine, and attempted possession with

intent to distribute cocaine, in violation of Title 21, United States Code, Section 846.

               In violation of Title 18, United States Code, Section 924(c)(1).




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                                      NOTICE OF FORFEITURE

THE GRAND JURY FURTHER CHARGES THAT:

                                       Forfeiture - 21 U.S.C. 853

                1.      As a result of the violations of Title 21, United States Code, Section 846,

set forth in this second superseding indictment, defendants

                                     GREGORY JONES,
                                          a/k/a “G,”
                                  LLOYD WASHINGTON, JR.,
                                         a/k/a “Bub,”
                                              and
                                    RONALD CRAWFORD,
                                        a/k/a “Coat,”
                                       a/k/a “Coulter,”
                                           a/k/a “C”

shall forfeit to the United States:

                        (a)     any and all real or personal property constituting, or derived from,

                                any proceeds obtained directly or indirectly as a result of such

                                violations; and

                        (b)     any and all real or personal property used, or intended to be used,

                                in any manner or part, to commit, or to facilitate the commission of

                                such violations.

                2.      If any of the property subject to forfeiture, as a result of any act or

omission of the defendants:

                        (a)     cannot be located upon the exercise of due diligence;

                        (b)     has been transferred or sold to, or deposited with, a third party;

                        (c)     has been placed beyond the jurisdiction of the Court;


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                       (d)     has been substantially diminished in value; or

                       (e)     has been commingled with other property which cannot be divided

                               without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

seek forfeiture of any other property of the defendants up to the value of the property subject to

forfeiture.

               All pursuant to Title 21, United States Code, Section 853.

                                   Forfeiture - 18 U.S.C. 924(d)

               3.      As a result of the violation of Title 18, United States Code, Section

924(c), set forth in this second superseding indictment, defendant

                                    RONALD CRAWFORD,
                                        a/k/a “Coat,”
                                       a/k/a “Coulter,”
                                           a/k/a “C”

shall forfeit to the United States of America the firearm and ammunition involved in the

commission of this offense, including, but not limited to a loaded Glock 9-mm firearm.

               All pursuant to Title 28, United States Code, Section 2461(c), and Title 18,

United States Code, Section 924(d).

                                                      A TRUE BILL:



                                                      FOREPERSON


LAURIE MAGID
Acting United States Attorney



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